
RESOLUCIÓN
Vista la Moción Urgente para la Desestimación del Re-curso de la Prensa por Falta de Jurisdicción, presentada en el caso AC-2007-66, por estar igualmente dividido el Tribunal, se provee “no ha lugar”.
Lo acordó el Tribunal y certifica la Secretaria del Tribunal. La Juez Asociada Señora Rodríguez Rodríguez emitió un voto disidente, al cual se unió la Jueza Asociada Señora Fiol Matta. El Juez Asociado Señor Rebollo López no interviene.
(Fdo.) Aida Ileana Oquendo Graulau

Secretaria del TribunalSupremo

